Case 1:03-cV-01231-.]DB-tmp Document 35 Filed 06/09/05 Page 1 of 3 Page|D 63

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WESTERN DISTRICT OF TENNESSEE 05 JUN _9 P
EASTERN DIVISION H l“ 3[‘
§§ ties
BOOKER HORGES, ’F ""' "‘”‘ "'"`t‘~*$

Plaintil`f,
vs. Civil Action No.: 1:03-]231- B/P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

\./\_/\_/\_/H_d\_/\_/\-J"_»‘\_d

Defendants.

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Ccurt that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference en June 24, 2005. This matter being
agreeable with the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this i day of \l U V\)\ , 2005.

tl/PM

".']'”B?’€N'I'EI:'BRE‘E'N ")L m Pj\qyy-|
UNITED STATES'B-I-S=PR']-GT JUDGE

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Case 1:03-cV-01231-.]DB-tmp Document 35 Filed 06/09/05 Page 2 013 Page|D 64

APPROVED FOR ENTRY:

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CERTIFICATE OF SERVICE

 

l certify that a copy of the foregoing has been served by U S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P C., P. O. Box 1126,
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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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June 13, 2005 to the parties listed.

 

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